                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW MEXICO

In re:

LAS UVAS VALLEY DAIRIES,

         Debtor.                                                            Case No. 11-17-12356 TR

ROBERT MARCUS, Liquidating Trustee,

         Plaintiff,

vs.                                                                               Adv. No. 19-01009 t

LAS UVAS VALLEY DAIRIES, et al,

         Defendants.

                              ANSWER AND COUNTERCLAIM

         COME NOW the Defendants Loren and Mitchell Horton, by and through their attorney of

record, and for their Objection to Plaintiff’s Complaint, STATE:

         1.      Defendants deny the allegations contained in paragraphs 1-4 of the Complaint.

         2.      Defendants admit the allegations contained in paragraphs 5-17 of the Complaint.

         3.      Defendants lack sufficient information to admit or deny the allegations contained in

paragraphs 18-19, 37, and 67 of the Complaint.

         4.      Defendants deny the allegations contained in paragraphs 20-36, 38-66, 68-82 of

the Complaint.

                                    AFFIRMATIVE DEFENSES

         1.      Plaintiff has failed to state a claim on which relief can be granted.

         2.      Plaintiff attacks as preferential transfers payments to employees of the Las Uvas

Valley Dairy which were their regular compensation, paid in a timely fashion as it had been in




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prior years before the Dairy experienced financial hardships. These payments were made in the

ordinary course of business and are not preferences at all. 11 U.S.C. §547(c).

        3.      Payments from the Debtor to the General Partners were salary, and were not paid

on account of an antecedent debt.

        4.      The General Partners conveyed new value to the Debtor in consideration of the

salary payments.

        5.      The salary payments were reviewed and approved during the pendency of the

bankruptcy proceeding; those determinations constitute the law of this case, and cannot now be

collaterally attacked by the Trustee.

        6.      The Trustee lacks judgment creditor status against assets which are not bankruptcy

estate property, such as property owned by general partners of the Debtor.

        7.      The Trustee has not yet completed liquidating bankruptcy estate assets; claims

against the General Partners are premature until that task is completed.

        8.      It would violate the General Partners’s due process rights to allow execution

against their assets prior to the liquidation of the Las Uvas assets.

                                        COUNTERCLAIM

        1.      Defendants / CounterPlaintiffs (hereinafter “Partners”) incorporate the

jurisdictional and venue allegations made by the Plaintiff in paragraphs 5, and 11-14 of the

Complaint.

        2.      Plaintiff on information and belief has the Las Uvas Valley Dairy under contract

for sale. This parcel is likely the most valuable bankruptcy estate asset available to pay the claims

of creditors.

        3.      Plaintiff has refused to provide the Partners with any information about the terms




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of the sales contract for the Dairy.

          4.    Partners’ long familiarity with the Dairy and its operations lend them unique

perspective and understanding in evaluating the market for the Dairy.

          5.    In addition, Partners have a significant financial stake in the sale of the Dairy, as

can be seen by the Trustee’s attempt in this adversary proceeding to attach their assets prior to

completing his task of administering the available assets of the Debtor.

          6.    There is a real possibility that instead of seeking in good faith to liquidate Las Uvas

assets at the best available prices in order to pay creditors, the Trustee will instead attempt to loot

the Partners of their personal assets while neglecting to obtain fair market value for the Dairy

assets.

          7.    The Trustee should be enjoined from further estate administration efforts absent

full disclosure of all his efforts to the Partners.

          8.     To be entitled to a preliminary injunction, the Partners must show (1) a likelihood

of success on the merits, (2) a likely threat of irreparable harm to the movant, (3) the harm alleged

by the movant outweighs any harm to the non-moving party and (4) an injunction is in the public

interest. Little Sisters of the Poor, Colo. v. Burwell, 794 F.3d 1151, 1174 (10th Cir. 2015).

          9.    Partners seek only information about the Trustee’s efforts; this is a minimal burden

and should in fact be a requirement of a fair liquidation process. There is a likelihood the Partners

will succeed in convincing this Court that the Trustee ought not be allowed to operate in secret.

          10.   To see the threat of irreparable harm to the Movants, the Court need only review

the Trustee’s allegations and prayer for relief in the Complaint and in the Motion for Injunction.

Trustee seeks to execute against the Partners without completing the liquidation of Las Uvas

assets. Should the Court allow this procedure there would be no incentive for the Trustee to




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obtain fair market value from the liquidation of the Dairy assets.

        11.     The balance of the harm clearly favors the Partners. They seek only an orderly,

fair and transparent liquidation of the Las Uvas assets, to precede any attempt to collect any so far

hypothetical deficiency from them. Their personal assets are at risk; the harm to the Trustee in

entering Partners’ requested injunction would only be that he would have to perform his job

obligations in public rather than in secret.

        12.     Partners’ requested injunction is clearly in the public interest. There should be no

concern that the Las Uvas assets were sold for inadequate consideration due to negligence or

corruption; the disclosure of all relevant information will prevent any such concern from

occurring.

        WHEREFORE, having responded to Plaintiff’s Complaint, Defendants pray it be

dismissed, and having pleaded their Counterclaim for an injunction against the Trustee, the

Defendants pray the Court bar and enjoin any further liquidation by the Trustee unless and until

full and fair disclosure of all assets, offers, consideration and value be provided to the Court and

to them, and for such other and further relief as the Court may deem just and proper.

                                                       Respectfully submitted

                                                        Filed electronically 3/22/19
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I hereby certify I sent a true and accurate copy of the foregoing to the following parties on March
22, 2019, through regular mail or through the Court’s electronic noticing system, depending on
the CM/ECF subscription status of that party.

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